        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 1 of 31




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


LOOMIS SAYLES TRUST COMPANY, LLC,
Individually and on behalf of all others similarly
situated,

                             Plaintiff,

v.                                                   Civil Case No. 22-cv-6706-LGS

CITIGROUP GLOBAL MARKETS INC.


                             Defendant.


DEFENDANT CITIGROUP GLOBAL MARKETS INC.’S MEMORANDUM OF LAW
IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF LOOMIS SAYLES TRUST
             COMPANY, LLC’S CLASS ACTION COMPLAINT
             Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 2 of 31




                                                   TABLE OF CONTENTS
TABLE OF AUTHORITIES .......................................................................................................... ii
PRELIMINARY STATEMENT .....................................................................................................1
FACTUAL BACKGROUND ..........................................................................................................4
LEGAL STANDARD ......................................................................................................................8
ARGUMENT ...................................................................................................................................9
I.        THE MARCH 18 COMMUNICATIONS THAT COMPRISE LOOMIS’S
          INSTRUCTIONS TO CGMI ARE PART OF THE PLEADINGS AND THE COURT
          MAY CONSIDER THEM FOR PURPOSES OF THIS MOTION. ...................................9
II.       THE COMPLAINT FAILS PLAUSIBLY TO ALLEGE THAT CGMI BREACHED
          EITHER A CONTRACTUAL OR FIDUCIARY DUTY OF “BEST EXECUTION”. ....11
III.      THE COMPLAINT SHOULD BE DISMISSED FOR THE INDEPENDENT REASON
          THAT LSTC’S CLAIMS ARE PRECLUDED BY SLUSA. ............................................19
IV.       ALTERNATIVELY, LSTC’S FIDUCIARY DUTY CLAIM SHOULD BE DISMISSED
          AS DUPLICATIVE OF ITS CONTRACT CLAIM. ........................................................24
CONCLUSION ..............................................................................................................................25




                                                                     i
            Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 3 of 31




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
Cases

Ambac Assurance Corp. v. U.S. Bank Nat’l Ass’n,
  328 F. Supp. 3d 141 (S.D.N.Y. 2018)................................................................................24, 25

Anwar v. Fairfield Greenwich Ltd.,
   151 F. Supp. 3d 390 (S.D.N.Y. 2015)......................................................................................23

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...............................................................................................................8, 9

Barbara v. MarineMax, Inc.,
   No. 12-CV-0368 ARR, 2012 WL 6025604 (E.D.N.Y. Dec. 4, 2012) .....................................25

In re Beacon Assocs. Litig.,
    745 F. Supp. 2d 386 (S.D.N.Y. 2010)................................................................................19, 20

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................9

Broder v. Cablevision Sys. Corp.,
   418 F.3d 187 (2005) ...........................................................................................................10, 11

Chambers v. Time Warner, Inc.,
   282 F.3d 147 (2d Cir. 2002).......................................................................................................9

DPWN Holdings (USA), Inc. v. United Air Lines, Inc.,
  747 F.3d 145 (2d Cir. 2014).......................................................................................................9

Fisher v. Kanas,
   288 F. App’x 721 (2d Cir. 2008) .............................................................................................20

Glaser v. The9, Ltd.,
   772 F. Supp. 2d 573 (S.D.N.Y. 2011)........................................................................................8

Global Network Commc’ns, Inc. v. City of New York,
   458 F.3d 150 (2d Cir. 2006).................................................................................................9, 10

Gurfein v. Ameritrade,
   312 F. App’x 410 (2d Cir. 2009) .............................................................................................17

Gwin v. Nat’l Life Ins. Co.,
  No. 2:08-CV-0059-RDP, 2008 WL 8945610 (N.D. Ala. Apr. 15, 2008)................................23


                                                                    ii
            Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 4 of 31




Helprin v. Harcourt, Inc.,
   277 F. Supp. 2d. 327 (S.D.N.Y. 2003).................................................................................4, 11

Kramer v. Time Warner Inc.,
   937 F.2d 767 (2d Cir. 1991).....................................................................................................14

Kurz v. Fidelity Mgmt & Research Co.,
   556, F.3d 639 (7th Cir. 2009) ..................................................................................................20

Lewis v. Scottrade, Inc.,
   204 F. Supp. 3d 1064 (E.D. Mo. 2016), aff’d, 879 F.3d 850 (8th Cir. 2018) ....................21, 23

Lim v. Charles Schwab & Co.,
   No. 15-CV-02074-RS, 2015 WL 7996475 (N.D. Cal. Dec. 7, 2015), aff’d sub nom.,
   Fleming v. Charles Schwab Corp., 878 F.3d 1146 (9th Cir. 2017) .........................................21

Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit,
   547 U.S. 71 (2006) ...................................................................................................................19

Miller v. Metropolitan Life Insurance Company,
   2019 WL 4450637 (S.D.N.Y. Sept. 17, 2019)...................................................................22, 23

N. Shipping Funds I, LLC v. Icon Cap. Corp.,
    921 F. Supp. 2d 94 (S.D.N.Y. 2013)..................................................................................24, 25

Newton v. Merrill, Lynch, Pierce, Fenner & Smith,
   135 F. 3d 266 (3d Cir. 1998)....................................................................................................17

Olagues v. Perceptive Advisers LLC,
   No. 15-cv-1190 (AJN), 2016 WL 4742310 (S.D.N.Y. Sept. 9, 2016) ......................................4

Pincover v. J.P. Morgan Chase Bank, N.A.,
   21-cv-3524 (PAE), 2022 WL 864246 (S.D.N.Y. Mar. 22, 2022) .......................................9, 11

Press v. Chem. Inv. Servs. Corp.,
   166 F.3d 529 (2d Cir. 1999).....................................................................................................18

Rayner v. E*TRADE Fin. Corp.,
   248 F. Supp. 3d 497 (S.D.N.Y. 2017), aff’d, 899 F.3d 117 (2d Cir. 2018) .............................21

Rayner v. E*TRADE Fin. Corp.,
   899 F.3d 117 (2d Cir. 2018)...............................................................................................19, 20

In re Refco Secs. Litig.,
    759 F. Supp. 2d 301 (S.D.N.Y. 2010)......................................................................................18

Schwab v. E*TRADE Fin. Corp.,
   258 F. Supp. 3d 418 (S.D.N.Y. 2017)................................................................................17, 18

                                                                    iii
             Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 5 of 31




Stifel, Nicolaus & Co., Inc. v. Shift Techs., Inc.,
    21-cv-4135 (NRB), 2022 WL 3648145 ...................................................................................11

In re Stillwater Capital Partners Inc. Litig.,
    851 F. Supp. 2d 556 (S.D.N.Y. 2012)......................................................................................22

Uni-World Cap., L.P. v. Preferred Fragrance, Inc.,
   43 F. Supp. 3d 236 (S.D.N.Y. 2014)........................................................................................25

Statutes & Rules

Fed. R. Civ. P. 12(b)(6)......................................................................................................1, 8, 9, 14

Fed. R. Evid. 201(b)(2) ....................................................................................................................4

FINRA Rule 5310 ..........................................................................................................................17

NYSE Rule 7.35.............................................................................................................................16

Private Securities Litigation Reform Act, 15 U.S.C. § 78u–4(b)(2)..............................................19

Securities Litigation Uniform Standards Act, 15 U.S.C. § 78bb(f) ....................................... passim

Other Authorities

NYSE, Quarterly Expiration Day – March 18, 2022 ................................................................4, 16

NYSE, Why you should care about the NYSE Closing Auction,
  https://www.nyse.com/network/article/nyse-closing-auction ................................................4, 5




                                                                     iv
         Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 6 of 31




       Defendant Citigroup Global Markets Inc. (“CGMI”) respectfully submits this Motion to

Dismiss Plaintiff Loomis Sayles Trust Company, LLC’s (“LSTC”) Complaint in its entirety, and

with prejudice, for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6), and because the

claims asserted are precluded by the Securities Litigation Uniform Standards Act, 15 U.S.C.

§ 78bb(f)(1)(A) (“SLUSA”). In the alternative, CGMI respectfully submits that LSTC’s

fiduciary claim should be dismissed as duplicative of its contract claim.

                                PRELIMINARY STATEMENT

       This case concerns stock trades that investment advisor Loomis, Sayles & Company, L.P.

(“Loomis”)—the sole member of LSTC—instructed CGMI to place on March 18, 2022, on

behalf of Loomis’s clients and LSTC. (Compl. ¶¶ 1, 12; see also Dkt. 26 at 1–2, Appx. A.)

Among those instructions were orders to sell 5,236,139 shares of Colgate-Palmolive Company

(“CL”) and purchase 780,856 shares of Shopify, Inc. (“SHOP”). (Compl. ¶ 1.) Pursuant to

Loomis’s instructions, CGMI placed those orders for execution on the New York Stock

Exchange (“NYSE”) closing auction at the end of the trading day on March 18, 2022.

Ultimately, the market prices received for CL and SHOP in the closing auction were respectively

lower (for CL) and higher (for SHOP) than Loomis allegedly expected. LSTC seeks to hold

CGMI responsible for those alleged investment losses on the theory that CGMI failed to achieve

“best execution” on the trades. Those arguments are without merit.

       As the Complaint and the contemporaneous communications incorporated by reference

make plain, Loomis—not CGMI—decided what stocks to trade, the number of shares to trade,

and the manner in which the trades should be placed with the NYSE. Contrary to Plaintiff’s

assertions, CGMI had no discretion to modify or cancel the various trades. Rather, CGMI’s

duty, acting as broker and agent, was to place the orders in accordance with the instructions
         Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 7 of 31




conveyed by Loomis’s own Director and Head of Trading for Growth Equity Strategies,

Nicholas Gagnon. That is precisely what CGMI did.

       Dissatisfied with the ultimate outcome of its own trading decisions for two of the 42

stocks it instructed CGMI to trade that day, Loomis now attempts to shift the blame, wrongly

suggesting that CGMI was obligated to exercise its own unilateral discretion to place the trades,

or even to not place the trades at all, for execution with the NYSE in a manner that differed from

the understanding reached between Loomis and CGMI. Plaintiff’s theory appears to be that

CGMI should have recognized that Loomis’s strategy to place the trades at the NYSE close

would backfire and CGMI had a duty to disregard Loomis’s instructions to protect Loomis’s

clients from their own sophisticated and experienced investment manager. LSTC’s claims for

(i) breach of contract for allegedly “fail[ing] to execute [the orders for CL and SHOP] in

accordance with the accompanying instructions and [CGMI’s] duty of best execution” (Compl.

¶ 74 (Count 1)) and (ii) breach of fiduciary duty for allegedly “failing to reasonably evaluate

liquidity” before executing the orders (id. at ¶ 78 (Count 2)), should be dismissed, with

prejudice, for the following reasons.

       First, the entire basis for Plaintiff’s claims is that CGMI failed to comply with Loomis’s

instructions for the CL and SHOP orders. Loomis provided those instructions to CGMI

throughout the day via Bloomberg chats and recorded phone calls, but the Complaint quotes only

selectively and misleadingly from those communications. Because the communications are

integral to and incorporated by reference into the Complaint, the Court may properly consider

them in their entirety in deciding this Motion. (See infra § I.)

       Second, the Complaint fails plausibly to allege that CGMI breached any contractual or

fiduciary duty to LSTC or any absent class member. To the contrary, the record before the Court




                                                  2
          Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 8 of 31




on this Motion makes plain that Loomis, not CGMI, exercised the discretion regarding the orders

for CL and SHOP, and that CGMI complied with its narrow duty to execute those orders as

instructed by Loomis. Contrary to the Complaint’s misleading excerpts, the full communications

on March 18, 2022, make clear that CGMI did not have the sort of discretion that LSTC claims,

but rather that Loomis instructed CGMI to place “market-on-close”, or “MOC”, orders for CL

and SHOP, which was confirmed by CGMI back to Loomis in the final minutes leading up to the

NYSE closing auction. Moreover, LSTC’s contention that CGMI had some obligation to change

or recall the CL and SHOP orders after they were placed into the closing auction is entirely

baseless and would have required CGMI to act unilaterally and contrary to Loomis’s

instructions. Accordingly, LSTC’s contract and fiduciary duty claims for CGMI’s alleged failure

to comply with its “best execution” obligations should be dismissed with prejudice. (See infra

§ II.)

         Third, the Complaint should be dismissed pursuant to SLUSA, which prevents class

action plaintiffs from artfully pleading securities fraud claims as state law causes of action. The

crux of the Complaint is that LSTC paid too much and received too little for the trades at issue

because CGMI misrepresented the actions and analysis it would take prior to executing on the

trades. LSTC’s claims thus fall squarely within the ambit of SLUSA. LSTC’s efforts to

characterize its claims otherwise are based on the demonstrably false assertion—again, in

reliance on the incomplete and misleading depiction of the parties’ communications—that the

alleged misrepresentations at issue did not occur until after the trading instructions had been

finalized. (See infra § III.)

         Fourth, LSTC’s breach of fiduciary duty claim (Count 2) should be dismissed for the

additional reason that it is entirely duplicative of the breach of contract claim (Count 1). Both




                                                 3
          Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 9 of 31




counts are based on the same alleged facts, circumstances and legal duty, and seek the same

damages, which is a common basis to dismiss a breach of fiduciary claim. (See infra § IV.)

                                       FACTUAL BACKGROUND

         A.      The NYSE Closing Auction and Quadruple “Witching” Day.

         The NYSE “closing auction” takes place at the end of each trading day and is a

“single-price auction that matches buy and sell orders at the price that maximizes the amount of

tradeable stock.” (Compl. ¶ 27 (internal quotation marks and citation omitted).) Each

NYSE-traded stock has a Designated Market Maker (“DMM”, historically referred to as a

market specialist), who is responsible for facilitating the closing auction and determining the

closing price. (Ex. 4 (NYSE Memo) at 1, 4.) 1 Among other options, an order placed for the

closing auction can be entered as “market-on-close” (“MOC”), which means the trade is

executed regardless of the closing price, or “limit-on-close” (“LOC”), which means the trade is

executed only if the closing price is at or better than the investor’s designated limit. (Id. ¶ 32. 2)

In other words, with an LOC order, if the stock is not trading at or better than the limit price, that




    1
      Exhibits cited herein are attached to the Declaration of Helam Gebremariam in Support of CGMI’s Motion to
Dismiss, dated November 16, 2022.

      The Complaint includes a hyperlink to an NYSE Regulatory Memo dated March 14, 2022, titled “Quarterly
Expiration Day – March 18, 2022” (“NYSE Memo”), and explicitly references and discusses the rules and policies
discussed therein. (Compl. ¶¶ 59 (“Pursuant to the then-existing NYSE rules and policies . . .”), 60 (“[T]he then-
existing NYSE rules expressly allowed . . .”).) Accordingly, the Complaint incorporates the NYSE Memo by
reference. See Helprin v. Harcourt, Inc., 277 F. Supp. 2d. 327, 330–31 (S.D.N.Y. 2003) (“To be incorporated by
reference, the Complaint must make a clear, definite and substantial reference to the documents.”). And even if the
NYSE Memo were not incorporated by reference, this Court may properly take judicial notice of it. As set forth in
CGMI’s Request for Judicial Notice in Support of its Motion to Dismiss filed herewith, the NYSE Memo “can be
accurately and readily determined from sources whose accuracy cannot reasonably be questioned”, and therefore
may properly be considered. Fed. R. Evid. 201(b)(2); see also Olagues v. Perceptive Advisers LLC, No. 15-cv-1190
(AJN), 2016 WL 4742310, at *2 (S.D.N.Y. Sept. 9, 2016) (“The Court may also take judicial notice of the public
rules of . . . [FINRA] under Federal Rule of Evidence 201.”).
     2
        See also NYSE, Why you should care about the NYSE Closing Auction,
https://www.nyse.com/network/article/nyse-closing-auction (last visited Nov. 14, 2022) (cited at Compl. ¶ 27)
(“NYSE Article”).



                                                         4
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 10 of 31




particular investor does not participate in the closing auction and its trade is not executed. The

cutoff time for placing orders in the NYSE closing auction—whether MOC or LOC—is

3:50 p.m., ten minutes before the 4:00 p.m. close of trading. (Compl. ¶ 50.)

       March 18, 2022, the date of the trades at issue in this litigation, was a so-called quadruple

“witching” day, which is the date each quarter that stock options, index options and index futures

expire and certain large indices, such as Standard and Poor’s U.S. indices, “rebalance”. (Compl.

¶ 27.) This rebalancing activity tends to increase liquidity in the market significantly as

compared to a regular trading day (id.), and such liquidity is further “centralized” during the

closing auction. (See NYSE Article, supra n.2 (cited at Compl. ¶ 27).)

       B.      The March 18, 2022 Communications That Comprise Loomis’s Trading
               Instructions to CGMI.

       On March 18, 2022, Loomis gave trading instructions to CGMI, as broker and agent, for

two “waves” of stock trades it requested that CGMI place as broker. (Id. ¶ 29.) Loomis, through

its Director and Head of Trading for Growth Equity Strategies, Nicholas Gagnon, provided

CGMI trader Joseph Chiomastro instructions regarding the first wave of orders at 2:18 p.m.,

which included orders for 33 stocks totaling 1,250,393 shares. (Ex. 1 at 2:18:03 p.m.)

Mr. Gagnon instructed Mr. Chiomastro to “start early as needed” and “target MOC”. (Compl.

¶ 32.) Loomis informed Mr. Chiomastro of a second wave of orders at 2:30 p.m., and increased

the volume of the orders in that wave shortly after 3:30 p.m. (Ex. 1 at 2:30:11 p.m., 3:26:38–

3:42:27 p.m.) The second wave contemplated orders for nine stocks (ADP, CL, DOCS, PYPL,

SHOP, SAM, SLB, SQ, and VEEV) totaling 16,738,542 shares (prior to the subsequent quantity

increases), including those to sell 5,236,139 shares of CL and to buy 780,856 shares of SHOP at




                                                 5
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 11 of 31




issue in this case. (Compl. ¶ 34.) Loomis has never complained about CGMI’s trade execution

for any of the 40 other stocks in either wave.

       For the second wave of orders, the Complaint refers to excerpts of some Bloomberg chat

messages between Loomis and Mr. Chiomastro that it alleges are the instructions that Loomis

provided and CGMI agreed to execute. (Id. ¶¶ 35–38.) In the excerpts quoted in the Complaint,

Mr. Gagnon stated that Mr. Chiomastro should “wave out what [CGMI] think[s] is good for an

aggressive MOC piece” and “trade the rest best way”, “be most aggressive near the close” and

that “the orders ‘[d]o not have to be complete on any of the second wave’”. (Id. ¶ 36.)

       What the Complaint omits, however, is that those quoted excerpts occurred at 2:30–

2:31 p.m. and comprise only a small portion at the start of a running dialogue between Mr.

Gagnon (and others at Loomis) and Mr. Chiomastro that continued right up to the time that

CGMI placed the orders for CL and SHOP just before the 3:50 p.m. NYSE cutoff time. (See

Exs. 1–3 (collectively, the “March 18 Communications”).) Over the approximately 80 minutes

that followed the 2:30–2:31 p.m. chats quoted and described in the Complaint, Mr. Gagnon and

Mr. Chiomastro discussed potential trading strategies for the second wave of orders, and the

record makes clear that Loomis and CGMI ultimately agreed that Mr. Chiomastro should place

an LOC, as opposed to MOC, order for only one stock in the second wave. That stock was SAM

(i.e., The Boston Beer Company), not SHOP or CL. A chronology of the parties’

communications during that critical window is detailed below, and the March 18

Communications have been provided to the Court in their entirety as Exhibits 1–3.

       More specifically, the Complaint omits that, during the 2:30–2:31 p.m. exchange it

quotes, Mr. Gagnon told Mr. Chiomastro to “[g]ive me a call to confirm once ready” so he could

“talk [Mr. Chiomastro] through now”. (Ex. 1 at 2:30:11–2:31:16 p.m.) Immediately at




                                                 6
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 12 of 31




2:32 p.m., the conversation shifted to a recorded telephone line, and Mr. Chiomastro said,

“[h]opefully we can do all of it on the close”, that CGMI would do some “analysis, kind of vs.

what the Street is showing . . . . And I’m also happy to kind of look at some on LOCs for a little

bit more protection.” (Ex. 2 at 1:20–23.) Mr. Gagnon responded that he “agree[d] with what

[Mr. Chiomastro] said”, that “CL and SAM were the only two that [Loomis] thought were

potential issues” with respect to liquidity, that “SAM is the one that probably makes sense to use

the most protection” (i.e., an LOC order), and that “I think it’s going to be just SAM and CL but

mostly just likely SAM that you have trouble with”. (Id. at 2:1–9.) Mr. Chiomastro responded

that he would “keep an eye on SAM and CL in particular”. (Id. at 2:20–21.)

       After the phone call, the conversation switched back to Bloomberg chat, and between

2:49 p.m. and 3:29 p.m., Mr. Chiomastro communicated with Mr. Gagnon and Daniel Maturi of

Loomis regarding market color and liquidity analyses of the various stocks. Among those chats,

at 3:11 p.m. Mr. Chiomastro reported liquidity data for the second wave of stocks, which showed

the quantities Loomis wanted to trade were 1190% of the “Street” for SHOP, -1040% for CL,

and -32,685% for SAM. (Ex. 1 at 3:11:10 p.m.)

       At 3:31 p.m., they were back on the telephone. Mr. Chiomastro asked Mr. Gagnon to

“get a sense of LOC level”, and Mr. Gagnon asked Mr. Chiomastro “how many are you thinking

you’ll use [LOC]”. (Ex. 3 at 1:3–4, 1:6–7.) In response, Mr. Chiomastro stated that “I’m

hoping, that our, our plan remains intact for probably just with some SAM and maybe some CL.

Um, SHOP is slowly pairing off so I’m just not pushing that one too much yet.” (Id. at 1:9–11.)

Mr. Gagnon and Mr. Chiomastro went on to discuss potential LOC orders only for CL and SAM,

and Mr. Gagnon stated that from Loomis’s own analysis he “s[aw] some buyers showing up in

CL” and that it would be “fine” to place the CL orders as MOC. (Id. at 2:10–15.) Mr.




                                                7
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 13 of 31




Chiomastro then confirmed, “I do think that CL we just end up being down there all MOC, we

don’t probably even need an LOC, but with SAM I’m just, you know, back to our original

conversation, that one I’m not going to push [MOC].” (Id. at 2:21–23.) Mr. Gagnon replied,

“That sounds perfect.” (Id. at 3:5.)

       The conversation then switched back to Bloomberg chat. At 3:44 p.m., Mr. Chiomastro

reported additional market color to Mr. Gagnon: “SHOP-- 440k to buy...p/o 40k.” (Ex. 1 at

3:44:03 p.m.) Mr. Chiomastro then updated Mr. Gagnon that all of Loomis’s SHOP order had

been placed MOC except for approximately 346,000 shares. (Id. at 3:44:14–18 (“346k SHOP in

hand[.] The rest is MOC”).) At 3:48 p.m., two minutes before the cutoff time to place orders in

the closing auction, Mr. Gagnon responded, “Thanks” and asked Mr. Chiomastro to confirm that

he was “looking to complete all except maybe SAM”, to which Mr. Chiomastro responded

“yes”. (Id. at 3:48:50–3:49:29.) Neither Mr. Gagnon nor anyone else at Loomis instructed

Mr. Chiomastro to change the CL or SHOP orders from MOC to LOC or reduce the number of

shares, or suggested that the full requested quantities should not be traded. The only stock with a

limiting instruction from Loomis was SAM.

       Finally, at 3:50 p.m., Mr. Chiomastro confirmed he had placed the orders for CL, SHOP,

and the other stocks in the second wave with the exception of SAM, as MOC orders in the

closing auction. (Id. at 3:50:26 p.m. (“I have all down now MOC x SAM”); see Compl. ¶ 53.)

                                       LEGAL STANDARD

       On a Rule 12(b)(6) motion to dismiss, the Court must accept well-pled allegations as true,

but “it does not credit ‘mere conclusory statements’.” Glaser v. The9, Ltd., 772 F. Supp. 2d 573,

585 (S.D.N.Y. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “Although factual

allegations of a complaint are normally accepted as true on a motion to dismiss, that principle

does not apply to general allegations that are contradicted by more specific allegations in the


                                                 8
         Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 14 of 31




Complaint.” DPWN Holdings (USA), Inc. v. United Air Lines, Inc., 747 F.3d 145, 151–52 (2d

Cir. 2014) (citations and internal quotation marks omitted). A “complaint must contain

sufficient factual matter . . . ‘to state a claim to relief that is plausible on its face.’” Ashcroft,

556 U.S. at 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). When

determining what is plausible, a court should consider the context and “draw on its judicial

experience and common sense”. Ashcroft, 556 U.S. at 679.

        A complaint is properly deemed to include any statements or documents that it

incorporates by reference or relies upon so heavily as to render them “integral”. Chambers v.

Time Warner, Inc., 282 F.3d 147, 154 (2d Cir. 2002). These principles “prevent[] plaintiffs from

generating complaints invulnerable to Rule 12(b)(6) simply by clever drafting”. Global Network

Commc’ns, Inc. v. City of New York, 458 F.3d 150, 157 (2d Cir. 2006).

                                             ARGUMENT

I.      THE MARCH 18 COMMUNICATIONS THAT COMPRISE LOOMIS’S
        INSTRUCTIONS TO CGMI ARE PART OF THE PLEADINGS AND THE
        COURT MAY CONSIDER THEM FOR PURPOSES OF THIS MOTION.

        As an initial matter, the Court may properly consider the March 18 Communications

(Exs. 1–3) in deciding this Motion because they are integral to and incorporated by reference into

the Complaint. The entire basis for LSTC’s claims is that CGMI “failed to comply with LSTC

and Loomis’ instructions” for the CL and SHOP trades (Compl. ¶ 1)—“instructions” that were

provided to CGMI solely via the March 18 Communications. (Id. ¶¶ 31–39.)

        Courts in this Circuit routinely consider documents setting forth the complete terms of an

agreement to be integral to a complaint that alleges breach of the agreement. See, e.g., Pincover

v. J.P. Morgan Chase Bank, N.A., 21-cv-3524 (PAE), 2022 WL 864246, at *5 (S.D.N.Y. Mar.

22, 2022) (finding agreement integral to complaint alleging breach of the agreement). While

Plaintiff’s pre-motion letter urged this Court to accept “the plain text of the Complaint . . . as


                                                    9
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 15 of 31




true” (Dkt. 22 at 2 (emphasis added)), the Second Circuit squarely rejected such an approach in

Broder v. Cablevision Sys. Corp., 418 F.3d 187, 196 (2005): “Insofar as the complaint relies on

the terms of Cablevision’s customer agreement, therefore, we need not accept its description of

those terms, but may look to the agreement itself.”

       Here, the relevant “agreement” is reflected in the totality of the March 18

Communications, not merely the portions that the Complaint selectively and misleadingly sets

forth. Indeed, LSTC’s omissions are particularly egregious, because the Complaint presents the

quoted portions as the entirety of Loomis’s “instructions” to CGMI, when in fact the quoted

snippets: (i) are from a portion of the communications that occurred at 2:30–2:31 p.m.,

approximately 80 minutes before the orders for CL and SHOP were placed, and (ii) were

supplemented, clarified and superseded by extensive and continuous discussion over those

ensuing 80 minutes, up until mere seconds before the 3:50 p.m. deadline for the closing auction.

And as discussed below in more detail (see infra § II.A), the Complaint’s selective recitation

creates the false impression that Loomis instructed CGMI to enter either MOC or LOC orders (or

enter other types of orders, or refrain from placing orders) for CL and SHOP at CGMI’s

discretion, when in fact Loomis instructed CGMI to enter MOC orders for the full quantities

requested and CGMI confirmed that instruction back to Loomis just before execution. That is

precisely the type of “clever drafting” that courts disfavor, see Global Network, 458 F.3d at 157,

and LSTC’s incomplete and misleading portrayal of Loomis’s instructions should not be

accepted as true for purposes of CGMI’s Motion.

       Moreover, the full March 18 Communications are integral to the Complaint because the

Complaint relies “heavily” upon their “terms and effects”, and LSTC had “actual notice of all the

information in the [communications] and relied upon [them] in framing” the Complaint.




                                                10
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 16 of 31




Pincover, 2022 WL 864246, at *4; see also Broder, 418 F.3d at 196. The Complaint explicitly

references portions of those instructions and CGMI’s alleged failure to comply with them (see

Compl. ¶¶ 1, 31–32, 35–36, 40–41, 64, 71, 74), which forms the basis for both causes of action

LSTC asserts (see id. ¶¶ 74 (contract claim alleging CGMI “failed to execute in accordance with

the accompanying instructions”), 77 (fiduciary duty claim alleging CGMI was required to act

“within the parameters delivered”)). And by quoting (albeit selectively and misleadingly)

portions of the March 18 Communications (see Compl. ¶¶ 31–32, 35–37, 57), the Complaint

“make[s] clear, definite and substantial reference[s] to” them. Helprin, 277 F. Supp 2d. at 331

(S.D.N.Y. 2003). Such references easily qualify to incorporate the March 18 Communications

by reference. See Stifel, Nicolaus & Co., Inc. v. Shift Techs., Inc., 21-cv-4135 (NRB), 2022 WL

3648145, at *1 n.2 (presentation incorporated by reference when complaint “discuss[ed] the fact

of the presentation and its contents”).

II.    THE COMPLAINT FAILS PLAUSIBLY TO ALLEGE THAT CGMI BREACHED
       EITHER A CONTRACTUAL OR FIDUCIARY DUTY OF “BEST EXECUTION”.

       A.      The allegations in the Complaint are contradicted by Loomis’s express
               instructions regarding the orders for CL and SHOP and the rules governing
               the NYSE closing auction.

       LSTC’s claims are based on the core allegation that CGMI failed to comply with its duty

of “best execution”. (Compl. ¶¶ 74, 77–78.) Specifically, LSTC contends (i) CGMI should not

have placed the orders for CL and SHOP as MOC orders “when any reasonable analysis of

liquidity and imbalance data would have revealed that the auction could not bear the full quantity

of the orders without materially affecting the stock price”; (ii) CGMI should have canceled some

portion of the CL and SHOP MOC orders prior to the cutoff time; and (iii) CGMI should have

availed itself of other measures allegedly at its disposal, such as contacting NYSE or the DMM

“to suspend the auction for dislocation, call for more liquidity, and/or cancel orders in the



                                                 11
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 17 of 31




auction”. (Compl. ¶¶ 56–60.) Those theories, however, are contradicted by the actual trading

instructions that Loomis gave CGMI in the March 18 Communications and are contrary to the

applicable NYSE Rules. Accordingly, the Complaint should be dismissed with prejudice.

       First, LSTC alleges that CGMI failed to exercise its discretion and utilize LOC, rather

than MOC, orders, or otherwise not complete the orders on March 18. (Compl. ¶¶ 37, 57.)

However, the March 18 Communications make clear that Loomis instructed CGMI to place the

orders for CL and SHOP as MOC orders for completion on March 18. CGMI, accordingly,

lacked the trading “discretion” that the Complaint claims CGMI had (Compl. ¶ 40), and which

LSTC has described to the Court as “the hallmark of best execution” (Dkt. 22 at 1).

       To support its contention that CGMI had discretion to, and should have, placed the orders

for CL and SHOP as LOC orders—or some other type of order, or no order at all (see Compl.

¶¶ 37, 57)—LSTC points to what were merely Loomis’s initial communications to CGMI

regarding the second wave of trades. (Id. ¶ 36 (chats to Mr. Chiomastro to “‘wave out what you

think is good for an aggressive MOC piece’ and ‘trade the rest the best way’”, and stating that

the orders “[d]o not have to be complete on any of the second wave”).) But the quotations in

paragraph 36 of the Complaint are incomplete and misleading. Indeed, that is obvious even from

the face of those initial chats at 2:30–2:31 p.m., as the Complaint omits that Mr. Gagnon also

asked Mr. Chiomastro to speak by telephone, so he could “talk [Mr. Chiomastro] through”

Loomis’s strategy for the second wave of trades. (Ex. 1 at 2:29:59–2:31:16 p.m.)

       Critically, Mr. Gagnon’s statements on the immediately ensuing call contradict the

Complaint’s description of the instructions. Mr. Gagnon stated that “CL and SAM were the only

two that [Loomis] thought were potential issues” concerning liquidity, concluding, “I think it’s

going to be just SAM and CL but mostly just likely SAM that you have trouble with”. (Ex. 2 at




                                                12
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 18 of 31




2:1–9 (emphasis added).) Over the next 80 minutes, Loomis and CGMI were in constant

communication regarding how Loomis wanted CGMI to execute the second wave of trades,

making clear that the instructions as described in the Complaint were far from finalized.

       Indeed, when Mr. Gagnon and Mr. Chiomastro spoke by phone again at 3:31 p.m.,

Mr. Gagnon concluded it would be “fine” to place the CL orders as MOC, and Mr. Chiomastro

confirmed, “I do think that CL we just end up being down there all MOC, we don’t probably

even need an LOC and then SAM I’m just, you know, back to our original conversation, that one

I’m not going to push [MOC].” (Ex. 3 at 2:15–23.) Mr. Gagnon replied, “That sounds perfect.”

(Id. at 3:5 (emphasis added).)

       Just before the closing auction deadline, Mr. Chiomastro and Mr. Gagnon were still

discussing market liquidity data and the trading strategy for SHOP. At 3:44 p.m.,

Mr. Chiomastro reported trading imbalance data via Bloomberg chat: “SHOP-- 440k to buy...p/o

40k”. (Ex. 1 at 3:44:03 p.m.) Mr. Chiomastro then updated Mr. Gagnon that all of Loomis’s

SHOP order had been placed MOC except for approximately 346,000 shares (out of

approximately 780,000 total). (Id. at 3:44:14–18 (“346k SHOP in hand[.] The rest is MOC”).)

At 3:48 p.m., Mr. Gagnon responded “Thanks”, acknowledging the orders that had already been

placed MOC. (Id. at 3:48:50.) Mr. Gagnon confirmed that Mr. Chiomastro was “looking to

complete all except maybe SAM”, to which Mr. Chiomastro responded “yes”. (Id. at 3:48:50–

3:49:29.) That exchange, approximately one minute before the cutoff time, clarifies that Loomis

knew CGMI had already placed the majority of the SHOP order MOC and that Loomis

instructed CGMI to place MOC the rest of the orders, including SHOP, with the exception only

of SAM. Placing LOC orders—or reducing the number of shares in the orders—would have

contradicted Mr. Gagnon’s directive to “complete all” of the trades. Consistent with the parties’




                                                13
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 19 of 31




agreement, at 3:50 p.m., Mr. Chiomastro confirmed that he had placed the orders as Loomis had

instructed: “I have all down now MOC x SAM”. (Id. at 3:50:26 p.m.)

       Contrary to the Complaint’s incomplete quotations and misleading characterization, the

full March 18 Communications make clear that, while Loomis and CGMI discussed LOC orders

early on as a potential trading strategy for the second wave of stocks, Loomis ultimately decided

and agreed that CGMI should not use LOC orders for SHOP or CL, and should use them only

for SAM. As the Second Circuit opined in Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d

Cir. 1991): “Were courts to refrain from considering [documents incorporated by reference],

complaints that quoted only selected and misleading portions of such documents could not be

dismissed under Rule 12(b)(6) even though they would be doomed to failure.”

       Moreover, to the extent LSTC contends that CGMI or Loomis would have altered the

orders or given different instructions had CGMI conducted a “reasonable analysis of liquidity

and imbalance data” (Compl. ¶ 56), that also must fail. The March 18 Communications show

CGMI did conduct such analyses and relayed the information to Loomis. As described above,

Mr. Chiomastro sent liquidity data to Loomis that indicated that its SHOP order was 1190% of

the “Street”, its CL order was -1040%, and its SAM order was -32,685%. (Ex. 1 at 3:11:10 p.m.)

Throughout the day, Mr. Chiomastro also monitored the imbalance data for the stocks in

Loomis’s second wave and periodically reported it to Loomis. (See id. at 2:49:59 p.m. (“Ill be

monitoring imbalances in the others but expect to get most done as discussed...SAM/CL close

eye.”), 2:55:43 p.m. (reporting on “CL SAM SHOP SLB imbals...this includes 50% of our ticket

down on[] [t]he close”), 3:44:03 p.m. (“SHOP-- 440k to buy...p/o [pair off] 40k”).) In addition,

the March 18 Communications evidence that Loomis received and digested CGMI’s analyses

and subsequently decided to proceed with MOC orders for the full CL and SHOP orders (and the




                                               14
         Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 20 of 31




rest of the stocks except for SAM). As such, LSTC cannot plausibly allege that the liquidity and

imbalance data made clear that the market could not handle its CL and SHOP orders because

Loomis itself considered that data and its Head of Trading for Growth Equity Strategies

confirmed the instruction to CGMI to place the full quantity of the SHOP and CL orders as MOC

orders. (See Ex. 1 at 3:48:50–3:49:29 p.m. (Gagnon: “looking to complete all except maybe

SAM?” Chiomastro: “yes”).) 3

         Second, LSTC asserts CGMI should have canceled the orders between the 3:50 p.m.

NYSE cutoff time and 3:58 p.m., as NYSE rules at the time allowed in the event of a “legitimate

error”. (Compl. ¶ 59.) But the Complaint does not plausibly allege any “legitimate error” of

which CGMI could have been aware during that time window. Rather, as the March 18

Communications show, at 3:48–3:49 p.m., Mr. Chiomastro confirmed that, per Loomis’s

instructions, he was placing all orders MOC except SAM and then confirmed once he had done

that. (Ex. 1 at 3:48:50–3:49:29 p.m., 3:50:26 p.m.) There was no error to be corrected, and

canceling the orders after 3:50 p.m. would have required CGMI to go against Loomis’s

instructions to place the CL and SHOP orders MOC. Nor did Mr. Gagnon respond to Mr.

Chiomastro’s chat by stating that entering MOC orders had been a mistake (because it was not),

even though Mr. Gagnon did continue to chat with Mr. Chiomastro regarding SAM in the 3:50–

3:58 p.m. window. (See id.)

         Moreover, what LSTC describes is not remotely the sort of “legitimate error”

contemplated by the NYSE Rules. Rather, “legitimate error” is defined by NYSE Rule


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        LSTC’s contention in its pre-motion letter that the liquidity and imbalance data was only provided by CGMI
after the trading instructions were given by Loomis and accepted by CGMI (see Dkt. No. 22 at 3 & n.1), is based on
the same incomplete and misleading allegations described above and is plainly wrong. As the March 18
Communications make clear, there was a running dialogue between CGMI and Loomis regarding what trades to
execute right up until the orders were placed at the 3:50 p.m. cutoff time, and throughout that time frame is when
CGMI provided the liquidity and imbalance analyses to Loomis.



                                                       15
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 21 of 31




7.35(a)(13) as “an error in any term of an order, such as price, number of shares, side of the

transaction (buy or sell), or identification of the security”. (Ex. 4 (NYSE Memo) at 2 n.3.) What

the Complaint describes—alleged errors in judgment and strategy “in analyzing the appropriate

number of shares to enter into the closing auction” (Compl. ¶ 59)—is none of those things.

       Third, LSTC contends that CGMI should have availed itself of other measures, such as

contacting the NYSE or involving the nonparty DMM to suspend the closing auction.

(Compl. ¶ 60.) But the Complaint does not allege any facts that explain how CGMI should

have—or could have—taken such extraordinary steps. NYSE Rule 7.35(j) allows for certain

“temporary suspension[s]” of closing auctions, including in the event that there is an “extreme

order imbalance[] at or near the close”, but it provides that only the DMM may request a

temporary suspension. (Ex. 4 (NYSE Memo) at 4.) The Complaint makes no allegation about

why the obligation was on CGMI to contact NYSE or the DMM regarding a temporary rule

suspension. Indeed, it would make no sense for a broker like CGMI to have an obligation to

report an “extreme order imbalance” in the closing auction to the DMM or NYSE, because they

are not privy to all of the order flow that the DMM sees in connection with the closing auction.

LSTC does not allege otherwise. Nor does LSTC allege that CGMI even knew at the time who

the DMMs for CL and SHOP were, or that such information is public.

       In addition, to the extent that CGMI had access to liquidity and imbalance data, that

preceded the 3:50 p.m. trading cutoff for the closing auction. (See, e.g., Ex. 1 at 2:49:59 p.m.

(“Ill be monitoring imbalances in the others but expect to get most done as discussed...SAM/CL

close eye.”), 3:44:03 p.m. (“SHOP-- 440k to buy . . . p/o [pair off] 40k”).) Moreover, the March

18 Communications show CGMI shared that liquidity and imbalance data with Loomis, and, as

discussed above, Loomis still decided to proceed with its aggressive instructions to place MOC




                                                16
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 22 of 31




orders for CL and SHOP. LSTC alleges no facts to suggest CGMI was in possession of other

information not shared with Loomis that purportedly gave it any sort of inside knowledge

regarding any “extreme order imbalances [for SHOP or CL] at or near the close”. (Ex. 4 at 4.)

       B.      CGMI owed no “best execution” duty to Loomis beyond its limited obligation
               to execute the orders in accordance with Loomis’s instructions, which it
               followed.

       While the Complaint makes numerous references to CGMI’s alleged “duty of best

execution”, that duty did not require or provide CGMI any authority to deviate from Loomis’s

instructions. “The duty of best execution [] requires that a broker-dealer seek to obtain for its

customer orders the most favorable terms reasonably available under the

circumstances.” Newton v. Merrill, Lynch, Pierce, Fenner & Smith, 135 F. 3d 266, 270

(3d Cir. 1998). FINRA Rule 5310, to which courts have looked to define the duty of best

execution, provides that members shall “use reasonable diligence to ascertain the best market for

the subject security and buy or sell in such market so that the resultant price to the customer is as

favorable as possible under prevailing market conditions.” Schwab v. E*TRADE Fin. Corp., 258

F. Supp. 3d 418, 425 (S.D.N.Y. 2017). As such, best execution cases typically involve

allegations that a broker failed to select the most favorable venue for a customer’s trades. See,

e.g., Gurfein v. Ameritrade, 312 F. App’x 410, 412 (2d Cir. 2009) (dismissing best execution

allegations because complaint did not sufficiently allege “an alternative exchange that was

reasonably available to [defendant] under the circumstances and that would have offered

materially better overall execution”).

       This is not such a case, and LSTC’s attempts to fit this case into the best execution mold

fail. (See Compl. ¶¶ 1, 9, 47-49, 56, 64, 66, 68, 74, 78.) The Complaint primarily alleges that

CGMI erred by placing the MOC orders for CL and SHOP, while failing to recognize order

imbalances that would push the price of CL down and the price of SHOP up in the NYSE closing


                                                 17
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 23 of 31




auctions. (See, e.g., id. ¶¶ 53, 56.) That is not a failure “to ascertain the best market”, Schwab,

258 F. Supp. 3d at 425, for the relevant orders—there was no conceivable market other than the

NYSE in which to execute, and LSTC does not contend otherwise. Indeed, Loomis’s entire

trading strategy was premised on taking advantage of increased liquidity in the NYSE closing

auctions on March 18 in connection with “quadruple witching” day. (See Compl. ¶¶ 27-29.)

       Moreover, while the Complaint misleadingly references excerpts of the March 18

Communications that preceded CMGI’s placing of the orders in the closing auction by well over

an hour, the entirety of those communications make clear that Loomis selected the securities and

volumes it wished to trade, and that Loomis made the decisions about when, where and how the

trades should be executed. (See Compl. ¶¶ 28–29, 34–38; see also, e.g., Ex. 1 at 2:30:11 p.m.,

3:42:15 p.m.; Ex. 2 at 2:1-9; Ex. 3 at 2:1–5.) Contrary to Plaintiff’s contention (see Compl.

¶ 35), CGMI did not have “discretionary trading authority”, and “where a broker does not have

discretionary trading authority over an account, the broker’s only duty is the proper execution of

transactions upon explicit customer instructions.” In re Refco Secs. Litig., 759 F. Supp. 2d 301,

323 (S.D.N.Y. 2010); see also Press v. Chem. Inv. Servs. Corp., 166 F.3d 529, 536 (2d Cir.

1999) (“The cases that have recognized the fiduciary relationship as evolving simply from the

broker-client relationship have limited the scope of the fiduciary duty to the narrow task of

consummating the transaction requested.”). Consistent with those standards, LSTC has already

acknowledged to this Court that a lack of discretion means “the hallmark of best execution” is

lacking as well. (Dkt. 22 at 1.)

       The March 18 Communications show that CGMI complied with LSTC’s instructions by

entering MOC orders for the entirety of the CL and SHOP orders, and the Complaint fails to

point to any action that CGMI took without authorization. (See generally Compl. ¶¶ 23–69; Exs.




                                                 18
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 24 of 31




1–3.) Rather, CGMI kept Loomis apprised moment-by-moment in the leadup to the closing

auction, and performed exactly as instructed. Accordingly, the Complaint fails plausibly to

allege that CGMI breached any limited contractual or fiduciary duties it owed with respect to the

relevant orders.

III.   THE COMPLAINT SHOULD BE DISMISSED FOR THE INDEPENDENT
       REASON THAT LSTC’S CLAIMS ARE PRECLUDED BY SLUSA.

       LSTC’s state law breach of contract and fiduciary duty claims should be dismissed for

the independent reason that they are precluded by SLUSA. 15 U.S.C. § 78bb(f)(1)(A). SLUSA

prevents plaintiffs from avoiding the heightened pleading requirements and mandatory discovery

stay applicable to securities fraud class actions under the Private Securities Litigation Reform

Act, 15 U.S.C. § 78u–4(b)(2) (“PSLRA”), by styling claims as ones alleging breaches of state

common law. In re Beacon Assocs. Litig., 745 F. Supp. 2d 386, 429 (S.D.N.Y. 2010). More

specifically, SLUSA precludes “(1) [] covered class action[s] (2) based on state law claims,

(3) alleging that defendants made ‘a misrepresentation or omission of a material fact’ or ‘used or

employed any manipulative or deceptive device or contrivance’ (4) ‘in connection with’ the

purchase or sale of (5) covered securities.” Rayner v. E*TRADE Fin. Corp., 899 F.3d 117, 120

(2d Cir. 2018) (citing 15 U.S.C. § 78bb(f)(1)).

       Each of those requirements is satisfied here. With respect to elements (1), (2), (4) and

(5), there is no question that this is a covered class action based on state law claims and the

alleged misconduct was “in connection with” the purchase and sale of “covered securities”.

LSTC seeks damages on behalf of a putative class that allegedly includes more than 200

members, for claims alleging state common law breaches of contract and fiduciary duties.

Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S. 71, 83 (2006); 15 U.S.C.

§ 78bb(f)(5)(B)(i)(I); Compl. ¶¶ 64-69 (alleging this action satisfies requirements of Rule 23(a)–



                                                  19
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 25 of 31




(b)), ¶¶ 70–79 (setting forth state law causes of action). CL and SHOP are listed on NYSE and

are therefore “covered securities”. See Fisher v. Kanas, 288 F. App’x 721, 723 (2d Cir. 2008)

(citing Dabit, 574 U.S. at 85) (“in connection with” requirement is interpreted broadly); In re

Beacon Assocs. Litig., 745 F. Supp. 2d 386, 430 (S.D.N.Y. 2010) (“covered security” under

SLUSA includes those listed on NYSE).

       Finally, while based on its artful pleading LSTC denies that it alleges CGMI made “a

misrepresentation or omission of a material fact” or “used or employed any manipulative or

deceptive device or contrivance” (Dkt. No. 22 at 2–3), element (3) is also clearly satisfied. In

“assessing whether [a party’s] allegations fall within the ambit of SLUSA”, courts “emphasize

substance over form”. Rayner, 899 F.3d at 120. Here, LSTC “cannot avoid SLUSA merely by

consciously omitting references to securities or to the federal securities law” and instead styling

its claims as common law breaches of contract and fiduciary duty. Id. The substance of the

claims sounds in fraud because LSTC alleges CGMI made material misrepresentations and

omissions regarding the orders for CL and SHOP.

       First, as a general matter, LSTC claims that CGMI misrepresented that it would execute

the second wave of trades on the terms Loomis provided, and therefore in accordance with its

alleged duty of best execution. (Compl. ¶ 1 (“Citigroup accepted the Affected Orders and agreed

to execute as directed. Citigroup, however, failed to comply with LSTC and Loomis’

instructions and breached its obligations, including its duty of best execution.”).) Because best

execution “affects the net price that investors pay or receive for securities” it is “widely

understood as a subject of regulation under the Securities and Exchange Act of 1934 and related

laws.” Kurz v. Fidelity Mgmt & Research Co., 556, F.3d 639, 640 (7th Cir. 2009). Courts thus

routinely dismiss best execution claims as precluded by SLUSA. See Rayner v. E*TRADE Fin.




                                                 20
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 26 of 31




Corp., 248 F. Supp. 3d 497, 503 (S.D.N.Y. 2017), aff’d, 899 F.3d 117 (2d Cir. 2018) (dismissing

best execution claims alleging that trading platform used routing practices that resulted in less

favorable execution prices); Lim v. Charles Schwab & Co., No. 15-CV-02074-RS, 2015 WL

7996475, at *6 (N.D. Cal. Dec. 7, 2015), aff’d sub nom., Fleming v. Charles Schwab Corp., 878

F.3d 1146 (9th Cir. 2017) (same); Lewis v. Scottrade, Inc., 204 F. Supp. 3d 1064, 1068 (E.D.

Mo. 2016), aff’d, 879 F.3d 850 (8th Cir. 2018) (same).

       Second, LSTC alleges that CGMI misrepresented the nature of the liquidity and

imbalance analyses it would perform in relation to the orders for CL and SHOP. (See Compl.

¶ 48 ( “Citigroup failed to conduct an appropriate analysis of the liquidity that the market could

bear in the closing auction”), ¶ 56 (“[A]ny reasonable analysis of liquidity and imbalance data

would have revealed that the auction could not bear the full quantity of the orders”).) However,

as is evident from the March 18 Communications incorporated by reference into the Complaint,

Mr. Chiomastro repeatedly told Loomis that CGMI would conduct liquidity and imbalance

analyses. (See Ex. 1 at 2:49:59 p.m. (“Ill be monitoring imbalances in the others”), 2:55:43 p.m.

(“I will let that sit for a bit and watch [CL and SHOP] for pairing off, counter flow”); Ex. 2 at

1:6–8 (confirming CGMI was “going to do some analysis” and “look to see [] the expected . . .

Street trade . . . and what overlap we have”), 1:12–14 (“[W]e’re going to first do the analysis to

kind of see what the expected Street-side trade is and get a better picture of what the liquidity . . .

is going to look like.”), 2:19–21 (“[I]n terms of accessing true liquidity I think we’re in a good

spot and I will . . . keep an eye on SAM and CL in particular.”).)

       Indeed, Mr. Gagnon and Mr. Chiomastro were in near constant communication leading

up to the 3:50 p.m. order cutoff, including extensive back and forth regarding the liquidity and

imbalance analyses that LSTC erroneously alleges CGMI failed to undertake. (See generally




                                                  21
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 27 of 31




Exs. 1–3.) At no point did Mr. Gagnon express any dissatisfaction or concern with

Mr. Chiomastro’s actions or proposed actions, or the information (or lack of information) he was

communicating. It follows that Loomis believes it was misled regarding the analyses CGMI was

performing and reporting about in connection with the anticipated orders. See In re Stillwater

Capital Partners Inc. Litig., 851 F. Supp. 2d 556, 572 (S.D.N.Y. 2012) (“Unless plaintiffs were

misled by misrepresentations or by material omissions, it is impossible to understand why they

would approve a merger that provided such lucrative management fees at plaintiffs’ expense.”).

       LSTC’s response, as previewed in its pre-motion letter, is apparently that those alleged

misstatements by CGMI “occurred after it accepted the instructions” and thus CGMI “promised

to conduct a liquidity analysis as part of its agreement to execute the orders” that had already

been finalized. (Dkt. No. 22 at 3 & n.1 (emphasis in original).) That is disingenuous and utterly

without merit, because the March 18 Communications clearly encompassed the discussions

about the liquidity analyses, and the precise trading instructions for CGMI were not finalized

until right before the 3:50 p.m. cutoff. Just as LSTC’s artful and misleading pleading—by

disingenuously claiming the instructions were set in stone by 2:31 p.m. and ignoring all

subsequent communications—cannot alter the terms of the actual instructions provided to CGMI

(see supra § II.A), neither can it allow LSTC to run from the alleged misrepresentations and

omissions that lie at the heart of its case and require dismissal under SLUSA.

       Miller v. Metropolitan Life Insurance Company is instructive. 2019 WL 4450637, at *4

(S.D.N.Y. Sept. 17, 2019). In Miller, the court dismissed under SLUSA claims brought by

insureds that alleged they were misled into paying higher premiums because of a policy the

insurer failed to disclose. The court noted that the complaint “plainly allege[d] fraudulent

conduct” because plaintiffs “allege[d] a misrepresentation concerning the method they expected




                                                 22
          Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 28 of 31




[the insurer] to use in calculating their premiums and the method [the insurer] used”, and that

plaintiffs’ attempt to “artfully plead around that conduct by couching their claims as a breach of

[the insurer’s] discretion” was nonetheless barred by SLUSA. Id. This case is no different, as

LSTC plainly alleges it was deceived by CGMI into placing orders that it would not have placed

if Loomis had known the purported truth regarding liquidity and imbalances for CL and SHOP,

and LSTC has attempted to “artfully plead around that conduct by couching [its] claims as a

breach of [CGMI’s] discretion” in executing the trades. Id.

         Third, in addition to the misrepresentations LSTC alleges CGMI made regarding the

analyses it was performing, LSTC explicitly alleges that CGMI withheld information that would

have affected Loomis’s instructions prior to the closing auction. Indeed, LSTC alleges that

“Citigroup was aware that the quantities for the Affected Orders ‘were bigger than [the] street’

and would ‘dominate the trade.’” (Compl. ¶ 52 (emphasis added).) The clear implication is that

CGMI allegedly knew the requested transactions could not be executed without materially

affecting the prices of CL and SHOP, but withheld that information, thereby inducing Loomis to

instruct CGMI to place the orders anyway. See Anwar v. Fairfield Greenwich Ltd., 151 F. Supp.

3d 390, 392 (S.D.N.Y. 2015) (claims based on alleged failure to disclose investment risk

precluded by SLUSA); Lewis, 204 F. Supp. 3d at 1069 (dismissing best execution claims

alleging defendant “failed to disclose that it was operating under a conflict of interest”). 4



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       To be clear, any attempt by LSTC to make out a claim for securities fraud would fail, as, inter alia, the
Complaint utterly fails to set forth any factual basis to conclude that the information CGMI shared with Loomis was
inaccurate or that CGMI failed to disclose material facts to Loomis, let alone with the particularity required by the
PSLRA. But for purposes of SLUSA, all that is required is that the substance of the claims asserted involves
allegations of securities fraud, regardless of how lacking those allegations may be. As one court put it: “Whether
Plaintiffs can succeed on the merits of their claims is not the test for SLUSA preemption. Indeed, the question before
the court is not even whether Plaintiffs’ allegation[s] state a claim for relief. SLUSA preemption depends, instead,
on an examination of the complaint for allegations of ‘an untrue statement or omission of a material fact [or
deception] in connection with the purchase or sale of a covered security.’” Gwin v. Nat’l Life Ins. Co., No. 2:08-
CV-0059-RDP, 2008 WL 8945610, at *5 n.5 (N.D. Ala. Apr. 15, 2008) (citation omitted) (quoting SLUSA).



                                                         23
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 29 of 31




IV.     ALTERNATIVELY, LSTC’S FIDUCIARY DUTY CLAIM SHOULD BE
        DISMISSED AS DUPLICATIVE OF ITS CONTRACT CLAIM.

        Even if LSTC has sufficiently pled that CGMI failed to comply with its duty of best

execution (and we respectfully submit it has not), LSTC’s fiduciary duty claim should be

dismissed for the independent reason that it is duplicative of its contract claim. A claim alleging

breach of fiduciary duty is duplicative of one alleging breach of contract when the claims are

“identical in substance”, meaning they are “premised upon the same facts and seek the same

damages for the alleged conduct”. N. Shipping Funds I, LLC v. Icon Cap. Corp., 921 F. Supp.

2d 94, 106 (S.D.N.Y. 2013); see also Ambac Assurance Corp. v. U.S. Bank Nat’l Ass’n, 328

F. Supp. 3d 141, 156 (S.D.N.Y. 2018) (citation omitted) (“[A] cause of action for breach of

fiduciary duty which is merely duplicative of a breach of contract claim cannot stand.”). In other

words, a fiduciary duty claim is “duplicative when it is based on allegations that are expressly

raised in [the] [] contract claim.” N. Shipping Funds I, 921 F. Supp. 2d at 105 (citation omitted).

        Here, the fiduciary duty and contract claims are based on CGMI’s alleged violation of the

same duty—the duty of best execution of the trading instructions for CL and SHOP—and

identical facts and circumstances. (Compare Compl. ¶¶ 71, 74 (alleging in contract claim that

“Plaintiff . . . offered to have Citigroup . . . execute the Affected Order . . . in accordance with the

accompanying instructions and Citigroup’s duty of best execution and related standards”) with

¶ 77 (alleging in fiduciary duty claim that CGMI “agreed to take on the discretion to decide how

to execute the Affected Orders within the parameters delivered therewith, including discretion to

determine the order type, size, timing, and price for the trades”).)

        To maintain both fiduciary duty and contract claims relating to the same conduct in the

same action, the fiduciary duty claim must assert the “breach of an independent legal duty that

‘spring[s] from circumstances extraneous to, and not constituting elements of, the contract’”.



                                                  24
        Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 30 of 31




Ambac, 328 F. Supp. 3d at 156. It is not enough to assert, as LSTC did in its pre-motion letter

(see Dkt. No. 22 at 3), that a fiduciary relationship exists in addition to the contractual duty,

where the alleged duties and breaches arise from the same facts. See Ambac, 328 F. Supp. 3d at

156-57 (duties “‘subsumed within the language of the [contracts] . . . or else implied within their

terms,’ [] cannot form the basis for a breach of fiduciary duty claim.”); Uni-World Cap., L.P. v.

Preferred Fragrance, Inc., 43 F. Supp. 3d 236, 244 (S.D.N.Y. 2014) (where fiduciary duties at

issue arose from nature of defendant’s position, “[r]egardless of the source or existence of [the]

duty, the critical issue is that the proposed ‘breach of fiduciary duty claim is identical in

substance to the breach of contract claim and is therefore duplicative.’”) (quoting N. Shipping

Funds, 921 F. Supp. 2d at 106).

       Here, the communications that form the basis of the relevant contract—i.e., Loomis’s

instructions to CGMI to place trades on its behalf—also establish the existence, extent, and

nature of the alleged fiduciary relationship. (Compl. ¶¶ 29-40.) The same facts relating to the

relevant instructions and orders are determinative of whether CGMI breached any contractual or

fiduciary duty—there are no “extraneous circumstances” giving rise a fiduciary duty or breach

thereof. See Barbara v. MarineMax, Inc., No. 12-CV-0368 ARR, 2012 WL 6025604, at *9

(E.D.N.Y. Dec. 4, 2012) (“If the breach of fiduciary duty claim [] arises from the duties imposed

by the [contract], the claim is duplicative . . . and is therefore subject to dismissal.”); Ambac, 328

F. Supp. 3d at 156–57 (dismissing duty of good faith claim incorporated by underlying contract,

but not duty of loyalty claim that existed “separate and apart from” the memorialized terms).

                                          CONCLUSION

       For the foregoing reasons, CGMI respectfully submits that LSTC’s Complaint should be

dismissed in its entirety, with prejudice, or, in the alternative, LSTC’s fiduciary claim should be

dismissed with prejudice.


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       Case 1:22-cv-06706-LGS Document 36 Filed 11/18/22 Page 31 of 31




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                                     Respectfully submitted,


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                                     26
